                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

FIREMAN’S FUND INSURANCE                      )
COMPANY, a California corporation             )
                                              )
        Plaintiff,                            )
                                              )
v.                                            )       Civil Action No. 3:12-CV-851
                                              )
ST. PAUL FIRE AND MARINE                      )       Judge Sharp
INSURANCE COMPANY, a                          )       Magistrate Judge Holmes
Minnesota corporation; and                    )
TRAVELERS INDEMNITY                           )
COMPANY, a Connecticut                        )
corporation.                                  )
                                              )
        Defendants.                           )

                                   CONSOLIDATED WITH


STEVEN COHEN PRODUCTIONS,                     )
LTD., and ST. PAUL FIRE AND                   )
MARINE INSURANCE COMPANY,                     )
                                              )
        Plaintiffs,                           )
                                              )
v.                                            )       Civil Action No. 3:16-CV-0641
                                              )
LUCKY STAR, INC.                              )       Judge Sharp
                                              )       Magistrate Judge Holmes
        Defendant.                            )
                                              )


                      REVISED NOTICE OF COMPROMISE AND SETTLEMENT


        The parties request an additional twenty-one (21) days to complete the exchange of

signatures on the Settlement Agreement and Release and for Fireman's Fund Insurance Company

to issue settlement drafts to Steven Cohen Productions, Ltd. and St. Paul Fire & Marine

Insurance Company in these consolidated matters. The parties shall file a stipulation of dismissal

within twenty-one (21) days of this notice.       1

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   Dated: July 15, 2016


                                 Respectfully submitted,

                                 GLADSTONE WEISBERG, ALC

                                          s/Leon Gladstone

                                 Leon Gladstone, Esq.
                                 (CA SBN 70967)
                                 Admitted Pro Hac Vice
                                 Gene A. Weisberg, Esq.
                                 (CA SBN 91515)
                                 Admitted Pro Hac Vice
                                 Gladstone Weisberg ALC,
                                 6060 Center Drive, 10th Floor
                                 Los Angeles, California
                                 90045 Tel: (310) 821-9000
                                 Fax: (310) 775-8775




                                 Attorneys for Fireman’s Fund Insurance Company
                                 and Lucky Star, Inc.




                                 SPICER RUDSTROM PLLC

                                        s/Brent S. Usery

                                 Marc O. Dedman, Esq. BPR# 14044
                                 Brent S. Usery, Esq. BPR# 25737
                                 Bank of America Tower
                                 414 Union Street, Suite 1700
                                 Nashville, Tennessee 37219-1823
                                 (615) 259-9080 telephone
                                 (615) 259-1522 facsimile
                                 Attorneys for the St. Paul Fire and Marine
                                 Insurance Company and Travelers Indemnity
                                 Company


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                                 LANGHENRY, GILLEN,
                                 LUNDQUIST & JOHNSON, LLC

                                        s/Steven R. Johnson

                                 Steven R. Johnson, Esq. Bar #6208989
                                 Admitted Pro Hac Vice
                                 Stacy K. Shelly, Esq. Bar #6279783
                                 Admitted Pro Hac Vice
                                 311 S. County Farm Road – Suite L
                                 Wheaton, Illinois 60187
                                 Attorneys for Steven Cohen Productions, Ltd. and
                                 St. Paul Fire and Marine Insurance Company




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